                                                                                           DeARCYHAlU
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK
                                                                                             BLOOM, MJ.


                                                             Complaint for Violation of Civil
firuA S&&g^o fl Sv/CUM *9J AJM.ATi&h**,*
                                                             Rights
                                                             (Non-Prisoner Complaint)
(Write thefull name ofeachplaintiffwho isfiling
this complaint. Ifthe names ofall theplaintiffs %                                OID


cannotfit in the space above, please -write "see
                                                             (to befitted in by the Clerk's Office)
attached" in the space and attach an additional
page with thefull list ofnames.)
                                                             Jury Trial:     JZ^Yes • No
                                                                             (check one)
    -against-

                       LLcl
&A)a/^ F.dtojJ* -Tr?- MiKhSWol
fJeuJ 1/01 t-c-'fi FedCo. V<JP± .                        w

(Write thefiM-name-ofeach-defendantwho is
being sued. Ifthe names ofall the defendants
cannotfit in the space above, please write "see
attached" in thespace andattach an additional
page with thefull listofnames. Do notinclude
                                                                              PRO SE OFFICE
addresses here.)


                                             NOTICE

 Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting
 from public access to electronic court files. Under this rule, papers filed with the court should
 not contain: an individual's full social security number or full birth date; the full name of a
 person known to be aminor; ora complete financial account number. Afiling may include
 only: the last four digits ofa social security number; the year ofan individual's birth; a
 minor's initials; and the last four digits of a financial account number.

 Plaintiff need not send exhibits, affidavits, grievance or witness statements, or any other
 materials to the Clerk's Office with this complaint.

 Inorder for your complaint to be filed, it must be accompanied bythe filing fee or an
  application to proceed informapauperis.




                                                                                                          v
I.   The Parties to This Complaint

     A.    ThePlaintiff(s)

           Provide the information below for each plaintiff named in the complaint. Attach
           additional pages ifneeded.      5^g^o A,5!^I'<Zo^Jc> a£ r<bfaj^^^to\
                  Name                      g/$jg6-^» ft . ^Yf IOzJU> (jvJl*tfldLt**/)
                 . Street Address           M^°i9 //*/g^ £»r fr&f 3&-
                   City and County         Srook(^i ( /,* *? f*7 ^7
                   State and Zip Code      /UfuJ fa./?^^      /) L3>1-
                   Telephone Number        <?M^ fnl.L , <4^^1^             .
                   E-mail Address           Office i"i £ ?- <g^C?M4-*'l • Cow

     B.    The Defendant(s)                              4 mi 0^...\ pF^^P^if

           Provide the information below for each defendant named in the complaint,
           whether the defendant is an individual, a government agency, an organization, or
            a corporation. For an individual defendant, include the person's job ortitle (if
           ~known.)-and-eheck whether you are bringing this complaint against them intheir
            individual capacity or official capacity, orboth. Attach additional pages if
           needed.


           Defendant No. 1

                   Name                      \1Sfo \\& fs^ LLC-
                   Job or title           T"ToM>fk*,J S> J^/La frf-froo/O^-f^ JUio *JI,J-
                   (ifknown).-.:             -.:.--                                            .;*. . •


                   City and County          (2>-/o£> ^ImJ
                     State and Zip Code     VavJ^foKK           (( ^Ifo,
                     Telephone Number }/?-£$</ 9$'M fK W? 67j/ P^?
                   E-mail Address                                      :                :
                     (if known)
Defendant No. 2

       Name

       Job or Title
       (ifknown)
       Street Address.
       City and County
       State and Zip Code
       Telephone Number
       E-mail Address
       (ifknown)


Defendant No. 3

      Name                  /U?t^ /q/i jbC«Vy fir) it U. tfl* F*rfito9«7T
       Job or Title         GroUaA* VIA 0,^ ~X~ &*jQ ^-C^
       (if known)
       Street Address

       City and County
       State and Zip Code
       Telephone Number
      E-mail Address
       (ifknown)


Defendant No. 4

      Name

      Job or Title
      (if known)
      Street Address        [0.0 SvIM ST-
      City and County
      State and Zip Code     pQuJ \fnr\K            :
      Telephone Number
      E-mail Address
      (if known)
II.   Basis for Jurisdiction

      Under 42U.S.C. § 1983, you may sue state orlocal officials for the "deprivation of any
      rights, privileges, or immunities secured by the Constitution and [federal laws]." Under
      Bivens v. Six Unknown NamedAgents ofFederal Bureau ofNarcotics, 403 U.S. 388
      (1971), you may sue federal officials for the violation ofcertain constitutional rights.

      A.     Are you bringing suitagainst (check allthat apply):
             JH      State or local officials (a § 1983 claim)
              D      Federal officials (a Bivens claim)

      B.     Section 1983 allows claims alleging the "deprivation of any rights, privileges, or
             immunities secured by the Constitution and [federal laws]." 42 U.S.C. § 1983. If
             you are suing under section 1983, what federal constitutional or statutory right(s)
             do you claim is/are being violated by state orlocal officials?
               Pnts**^ at»~*J*A*~A- - ftfrwr+o hr Stun* t" /6<+**


              bocs de£f/*J iff pteaJ/^j /*-» JU£oi[/{»/} irC**** fs£ct$>
      C.      Plaintiffs suing under Bivens may only recover for the violation ofcertain
              constitutional rights. Ifyou are suing under Bivens, what constitutional right(s)
              do you claim is/are being violated by federal officials?




      D.      Section 1983 allows defendants to be found liable only when they have acted
              "under color ofany statute, ordinance, regulation/custom, or usage, ofany State
             •or Territory or the District ofColumbia." 42 U.S.C. § 1983. Ifyou are suing .
              under section 1983, explain how each defendant acted under color ofstate or local,
              law. Ifyou are suing under Bivens, explain how each defendant acted under color
              of federal law. Attach additional pages if needed.


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                                                4
m.   Statement of Claim

     State as briefly as possible the facts of yourcase. Describe how eachdefendant was
     personally involved in the alleged wrongful action, along with the dates and locations of
     all relevantevents. You may wish to include further details such as the names of other
     persons involved in the events giving rise to your claims. Donotcite anycases or
     statutes. If more than one claim is asserted, number each claim and write a short and
     plain statement ofeach claim ina separate paragraph. Attach additional pages if needed.

     A.     Where did the events giving rise to your claim(s) occur?




     B.     What date and approximate time didtheevents giving riseto your claim(s) occur?


            A(Q^^^.          |o:an <t4^


            What are the facts underlying your clairn(s)? (Forexample: What happened to
            you? Who did what? Was anyone else involved? Who else saw what happened?)




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             ^i/irjn%.K) -ri^ L^l ^Up'AM ^M^a PA°pan
IV.    Injuries

       Ifyou sustamedinjuries rdated^o-thecveflfs alleged~above, describe your rnjuries-and
       state what-medicaltreatmentjfany, yourequired and did or did not recgive.



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       ** j^<$t..\>c *ot ft^. Uns>*jftK\ ct>e*J- ^




V.     Relief

       State briefly what you want the court to do for you. Make no legal arguments. Do not
       cite any cases or statutes. Ifrequesting money damages, include the amounts ofany
       actual damages and/or punitive damages claimed for the acts alleged. Explain the basis
       for these claims.




       \t*> 4^e. ^Y^t.si.T Ct ajcu r^-c \tJC\dl*i^T- ftuJti to* f4^


        fi 4,v hI? la fir, vlA". *,. ft * JLj~ a|/\,} Ayf L»4 +<J> -f^ttc. Q;£_£**•_.


.VI.   Certification and Closing

       Under Federal Rule of Civil Procedure 11, bysigning below, I certify to thebest ofmy
       knowledge, information, and beliefthat this complaint: (1) is not being presented for an
       improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
       cost oflitigation; (2) issupported by existing law or by anonfrivolous argument for
       extending, modifying, or reversing existing law; (3) the factual contentions have
       evidentiary support or, if specifically so identified, will likely have evidentiary support
       after areasonable opportunity for further investigation ordiscovery; and (4) the
       complaint otherwise complies with the requirements ofRule 11.
A.   For Parties Without an Attorney

     I agree to provide the Clerk's Officewith any changes to my address where case-
     related papers may be served. I understand that my failure to keep a current
     address on file with the Clerk's Office may result in the dismissal of my case.

     Date of signing:/

     Signature of Plaintiff _^

     Printed Name ofPlaintiff S^/g&VO li - S^7fc^^O



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    ^^^^SSS^SSSKSSSSSS
               CIVILIAN COMPLAINT REPORT
               PD313-154 (Rev. 6-00)-Online Ref. P.a 207-31-

        FOR POLICE DEPARTMENT           Jurisdiction: • Ch. ofDept
        USE ONLY                        Number:                                   BC.C.R.B.        DOTHER /SPECIFY                  a |.A.B. LOG #
        DATE OF OCCURRENCE         TIME OF OCCURRENCE LOCATION OF OCCURRENCE
      01/11/2019                   1030                                                                                                             BORO OF OCCURRENCE
                                                              1298 HALSEY STREET APT 3R                                                         BROOKLYN
      DAY OF WEEKlPCT. OF OCCURRENCE! HOW COMPLAINT MADE
                                                                                      RECEIVING COMMAND
     FRIDAY 1083                            I Bin Person aMail DPhone           083
                                                                                                                        DATE

     DATE REPORTED              TIME                                                                                    01/17/2019
                                                              C.C.R.B. (NAME) NOTIFIED
     01/17/2019                 1715
    FOR COMPLAINANT USE ONLY ^cHm DWtness d r . m ^ ^
    PERSON ASSISTING INTERPRETER. REPRESENTATIVE:                     '     '             COMPLAINANT'S SURNAME
                                                                                                                                                          FIRST
                                                                                          SALCEDO
    DATEOF BIRTH SEX             RACE           M.O.S.
                                                                                                                                                     SERGIO
                                                             ATTORNEY RETAINED COMPLAINANT'S ADDRESS
    10/07/1957    EM DF
                        WHHIS                   OYes 0No          • Yes EJNo              1298 HALSEY STREET
    BOROUGH IZIP CODE APT. NO.                  HOME PHONE
                                                                                                               BUSINESS PHONE
    BROOKLYN 11237             3R               (917) 626-4882
                                                                                                               (917)626-4882


    ^         |NAME^^R,PT,ONANDASS,GNMENT,FUN,nENT,F,Em                                                  COMMAND VEH ,                  ^. n^v ^
    PO         RONURR                                                                                '              -                   ~"
                                                                                                                                         10822
    PO         HIULLA
                                                                                                                                        9161

WITNESS/VICTIM SURNAME                 FIRS?"      DATE OF BIRTH                    SEX              RACE                 M.O.S.               ATTORNEY RETAINED
    SALCEDO            MIGUELINA                   07/05/1965                        DM    OF         WHHIS                    • Yes Q] No     D Yes 0 No
    ADDRESS                                                                        BORO              ZIP CODE
                                                                                                                                               APT. NO.
    1298 HALSEY STREET                                                              BROOKLYN 11237                                            3R
HOME PHONE
                                                                                      BUSINESS PHONE
(         )                                                                           (        )
WITNESS/VICTIM SURNAME                 FIRST       DATE OF BIRTH                   SEX               RACE                 M.O.S.              ATTORNEY RETAINED
                                                                                    DM    DF                               •       Yes DNo    OYes DNo
ADDRESS
                                                                                   BORO              ZIP CODE                                 APT. NO.


HOME PHONE
                                                                                      BUSINESS PHONE
(         )                                                                           (       )
DETAILS (Briefly describe theincident). If complainant does not reside within New York City. Indicate community / county / stateof residence:

    JANUARY 11, 2019 AT ABOUT APPROX 10:30 AM A CITY MARSHAL EDWARD F. GUIDA JR
ALONG WITH 2 FEMALE P/O SPANISH SPEAKEN BROKE DOWN MY APRTMENT DOWN THAT
    DID NOT SHOW AN APARTMENT NUMBER ON DOOR, HEAD TO SLEEPING ROOM WAKE ME
UP FORCE ME AND WITNESS OUT OF THE APARTMENT DISPITE SHOWING THEM PROOF
THAT THE NAME OF THE PARTY THEY WERE EVICTING HAD SOLD THE PROPERTYIN 1982
AND THAT THE PROPERTY IS OWNERSHIP OF MARIA A. SALCEDO DECEASED IN TRAFFIC
HIT RUN ON 1997 AND THATTHE ESTATE OF MARIA NOW OWN IT 4CHILDREN REMAIN IN
INTEREST OF IP DANIEL SALCEDO, RAFAEL SALCEADO, MARIA SALEADO, SERGIO A
sXSeDO WE WERE FORCEFULLY REMOVE BY THE P/O &MARSHAL BADGE NUMBER 14.
APARTMENTI S TAKEN. THE OFFICER WERE NOT COOPERATIVE AS TO WHY THEY
Jm^Sr^B^EN ITOLD THEM THAT THE MARSHAL DID NOT HAVE PROPER
    DOCUMENTSFOR AN EVICTION IN BROOKLYN, THAT THEY COULD ONLY COLLECT
    ^unGMFNT ATCASK AND THAT THEY WERE FROM QUEENS COUNTY. MY PERSISTENT
    REqSSr TOE P/O WDEnSy ICOULD ONLY OBTAIN FROM THE SPELLING OF A
    NAME PO RONRURRL BADGE NUMBER 10822 PO HIULLA NUMBER 9161 BUT DID NOT
    K^i™                                                          THEY WERE IBEING LOCK OUT OF MY APARTMENT
    SINCE THE INCIDENT. IT IS CLEAR AVIOLATION OF CIVIL AND HUMAN RIGHTS AND A
    ACTION OF CORRUPTION BY THESE INDIVIDUAL.
                                                                                                                                             DATE
    COMPLAINANTS SIGNAJtfRI                                                                                                                  01/17/2019
                                                                                                                                             DATE
                                                                    NAME PRINTED
    TITLEANDSIGNATUREOFMEMBER   RECEIVING COMPLAINT
          vlD SIGNATURE OFMEMBERR                                                                                                            01/17/2019
                                                                                          3QQCC                                D DEPT. PHOTOS               D SUMMONS
                              COPIES ATTACHED:
                                                                      a MEDICAL TREATMENT OF PRISONER
    OTHER[FORMS PT^EPARED AND C                                                                                                D AIDED #
                                 O COMMAND LOG ENTRY                      D DOMESTIC INCIDENT #            _
    D SPRINT JOB                                                                                                               •   ROLL CALLS
                                 • UNUSUAL OCCURRENCE                     • COMPLAINT REPORT #                  _
    D OLBS WORKSHEET                                                                                                           D OTHER
                                 D ACCIDENT #                             • STOP & FRISK «
    Q MEMO BOOK ENTRY                                                                                                                                  DATE
    -TLEANDStGMWUREOFREVIEWINGSUPERVISOR                     " .Inameprinted Z^^Sf
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                                                             i unur own handwriting. Yot/wil



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                                                           I                   CERTIFICATE OF DEATH
             0rFMLYORK CITY
             J-FMHEHTOr HEALTH
                                                                                                                           Certificate No.                155*9Zi ^03393 t»'*
                                                                1. NAME OF
                                   25 Pfl '97                      DECEASED
                                                                                                          Maria                                       Aqrora                      Salcsdo
      DATE FILED                                                   (Type or Print)                    * (First Name)                            (Middle Name)                               (LastName)
                                                  MEDICAL CERTIFICATE OF DbAIH (To be filhdin by the O.C.M.E.)
2. PLACE           NEW YORK CITY                       2b. Name of hospitalor other facility                                      2c.ItinHospital orOtherFacility
                                                            "notfacility, street address                                                                                    2d. If inpatient, date of
       OF          2a:BOROUGH fT~™                                      z__ «£.—ja? and_ Byai,^^
                                                                                           ,'••"
                                                                                                 ^ t • OOA
                                                                                                       OOA 3
                                                                                                           3 QOutpatient
                                                                                                             Q Outpatient                                                        current admission
      DEATH              Brboklyn                       Avenue                                                                             2QEmerg. 4 Q Inpatient
                                                                                                                                                                             Month          Day         Year

3. DATEAKD HOUR OF DEATH"                        3a      (Mt«t»)               fiatf                                 3b. HOUR
      OR FOUND PEAD                                       July                           199    l/*                  11:00                     QPM.
                                                                                                                                                          4. SEX
                                                                                                                                                          Female
                                                                                                                                                                              5. APPROXIMATE ACS
                                                                                                                                                                                       74 Years
 6.                DEATH WAS CAUSED BY:                                                                       Enteronlyone cause per line                                           INTERVAL BETWEB*
                                                                                                                                                                                     ONSET AND DEATH
                  a'lmmediate causa.• Multiple Skeletal fractures aild Visceral laceratHnnn
                  o.Uuetoorasa
                     uuetoorasa •' a« »- ^ •
                                         7~-   ' '~. T Tk.
                                                         T .'  ' . -''   •' J) ,' '>
                     conseguenceof Blunt impact of head, trunk and extrgnrif-igg
                  a Due to or as a                 •                   • ••        .••."••
                    consequence of
                 d.Other significant conditions contributing todeath but not resulting in the underlying cause given inpart 1
 PART 2

7a INJURY: DATE
      (Morthl (Day)         (Year)
                                                 .TIME           7c. AT WORK             7d. PLACE OF INJURY - At home, farm, street, etc. Street
                                                 am10:45              iQyes
        07         13       97                     QPM            2C^NO                  7e. location Chauncey Street and Bushvick Avenue
71. HOW INJURY OCCURRED
                                          Pedestrian in motor vehicle accident
8. Manner of Death                                                                 9. Autopsy                          10. OntfW&asisofe
      Q Pending Further Study             •    Homicide                               3D Yes                               death occurred
         •     Natural                          Q Suicide                              • NoAutopsy                     CERTIFIER
      QtAcciderrt                         •    Undetermined                                                            SIGNATURE
                                                                                           Pursuant to Law
                                                                                       • NoAutopsy                     DATEr           (X
 11.M.E.CaseNo.                    12a. Date Pronounced Dead (Month, Day, Year)                       12b. TIME        CERTIFIER
                                        (Ifdifferentfrom 3a)                                           QAM             NAME (Print).            Thomas Gilson, M.D.
^K97-3245                                                                                                    QPM                                                                        RMedical Examiner)
                          PERSONAL PARTICULARS (To be rilled in byFuneral Director, orin caseofCity Burial, byO.C.M.E.)
 13. Usual Residence                 13b. County        13c. Chy, Town, or Location              13d.Street &HouseNo.                              Zip                —Apt No.          13e. Inside City
                                                                                                                                                                                            Limits of 7c            V
        •*THK                        KINGS             BROOKLYN                                       69 COOPER ST.                               11207                #5  -3QVB3 QNo
 14. Served in U.S. Armed Forces                                  15. Marital Status (Check One)                             16. Name of Surviving Spouse (Ifwife,give maidenname)
      No Yes             Specify years                            1 Qffiiever Married     2 Q Widowed
7 09 1Q                  From             To                           3 Q Marriedor separated 4 Q Divorced                                                                                                    .&
 17. Date of birth       (Month)         (Day)         (Year)           18. Age at last birthday             If under 1 Year        If less than 1 Day      19. Social Security No.
     of Decedent                                                                                              mos.      days         hours       mins.
                                                       1928        69                                                                                         XXX-XX-XXXX
 20a Usual Occupation (Kind of worit done during most of working lifetime. Do not enterretired)                                                    20b. Kindof business or industry
      fiET.F      P!MPT.nVFD
 21. Birthplace (City&State orForeign                        22. Education (Specify only highest grade completed)                          23. Other narne(s) by which decedent was known
     Country;                                                Elementary/Secondary (0-12)       College (1-4 or 5+)
DOMINICAN REPUBLIC                                                12
24. NAME OF FATHER OF DECEDENT                                                                                                     25. MAIDEN NAME OF MOTHER OF DECEDENT

Tn.gff          awTnwTO                  gaT.ppnn                                                                                     rnPMPT.Ta                    aT.MOMfi?
26a. NAME OF INFORMANT                                            26b. RELATIONSHIP TO DECEASED                       26c. ADDRESS                       (CITY)           (STATE)                 (SP)
SERGIO SALCEDO
27a NAME OF CEMETERY OR CREMATORY
                                                                      SON                                             100 COOPER ST.
                                                                              27b. LOCATION (City, Tom, State and Country)
                                                                                                                                                                    BKLYN,             NY 11207
                                                                                                                                                            27c. DATE OF BURIAL OR CREMATION
                                                                                                                                                                                                               'T
CEMENTERIO MUNICIPAL                                                          SAN JOSE de las MATAS D.Ri JULY                                                                19        1997
                                                                                                             128b. ADDRESS
28a. FUNERAL ESTABLISHMENT
PONCE FUNERAL HOMES                                          INC.                                            2715 ATLANTIC AVE.                                      BROOKLYN                     NY                u
   VR16(1/94)               VITAL RECORDS                                               DEPARTMENT OF HEALTH                                                         THE CITY OF NEW YORK
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         Department 'of^^ HealthidoesVn^^rfify to the truth of the statementsmade^hereon, a^np'ijjquiry as to the
         facts^a^b«r^pr^vided byj&v^ >^
                                                                s$5
              death                                                                              - - * STEVEN P. SCHWARTZ
                                                                                                n        . CITY REGISTRAR
                                                                                                                                                                                      '*>
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                                                    or Mieceuort and anient of the party of the secondpart forever,
                                                    ALL thatcertain (tot, piece or parcel of land, withthebttOdhtp and mproecmenti thereon erected, tknete,
                                                    lying and being fn the f*orour.h ol" Prooklyn, County of Kln^c, City nnd Otnte
                                                     "I' ::«.-W Y.-i-fc, l>--nii.k»l    Hid Jo-ei-ibcd :i:: ToMow:::

                                                     UEUIHNIH>'» at a point on the noutherly aide of Halaey Street, distant
                                                     1\? fet.-t cantorIy from the- i nt..-i\i«-i-t Ion ..«* the southerly aide ol"
                                                     ilalaoy ::uv.-i. an.) t.|je i.«:-.t».-rly r-l-U- ..f Knickerbocker Avenue'
                                                     RUNNINC TH1WK r.outhorl.v parallel wlih the easterly ulde of
                                                     Knickerbocker Avenue and part of the distance through a party wnl.l,
                                                     2 00   Tcft;

                                                     THKNi'E eas'.erijr parallel wltn tho .".author* ly aide or llaluoy Street,
                                                     /6 feet 6 lm.-hi.-t;;

                                                     TIIKfld-: norlhorly parallel with tin- <-a.;toi-ly :-.|de of Knickerbocker
                                                     Avenue anu ptirt of the ol:-.t:iiicc through :i pa-ty wall, HiO foot to
                                                     the Southerly isiUc of llalKuy struct;

                                                     VithNtri-: Hf.:»or!y alone Ui- ; ..iitJi.-i-iy ;;Hi- of Halucy Street, 26 feet-
                                                     i» lii-lii-;-. t-> the point or place of boirlnMlii;.'.
                                                     «AII) HtKMI;;K.*; belnr known as arid by the- -trcet aridreas l?p8 Haley
                                                     Ktroi-t., Prooklyn, New York.



                                                    TOGETHER withall right, titleand interest, if any, of theparty of the fait part in tad to any enacts and
                                                    roadsabuttingthe abovedescribed prom** to the centerbit* thereof; TOGETHER with the aiiiiiiiiiwiMi
                                                    and an thr estateand right* of the party of the fiat part in and to said orenrists; TO HAVfc'AND TO
                                                    HOLDthr prtmbn herein granted ontotheparty of thesecond part, theheirs or successors andassigns of
                                                    the party of the second part forever.


                                                    AND the party of the first pan, la mnptiance with Section U of the Lien Law, covenants that the party of
                                                    the first part winreceive theconsideration (orthis conveyance andwin bold the rightto receive sodi costid>
                                                    cratkm a* a trat fend to beapplied first for tht pot-pot* of psyiag thecost of theimprovement and willapply
                                                    the tame first to thepayment of thecostof thetaprovwncni before using any part of the total of the tametor
                                                    any other purpose-
                                                    AND the party of the first partcovenant* at foOov/t: that said party of the first part is seised of the said
                                                    prearitci in fee staple, andhas good rightto convey tht same; thatthe party of the second pan enafl cjolcdy
                                                    enjoy the said premises; that the said prnnars are free from inewnbrsnee*. accent as aforesaid; that the
                                                    partyof the firstosrt wfllexecuteor procure toy farther necessary assttrsnee of the title to saidpremises; and
                                                    that saidparty of the fine put wit] forever warrant thetitleto utt peeenbes.
                                                    The word"party" shall be cocutrued as if Mread"parties" whoever the senseof thb indenture to requires.
                                                    HI W1TNIIS WHIKBOPi the party ofthe first part hudtdy executed ttyi)dced the day and year first above
                                                    Ivraeaitcci




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       OK DOCUMKNT CONTAINS AMULTICOLORED VOID I'ANTOCRAIMI AND MICROPRINT HORDER. THIS DOCUMENT VLSO HAS
       INVISIHl.E FLUORESCENT ITUERS, ARTIFICIAL WATERMARK ON HACK, AND ACHEMICAL REACTIVE VOID FEATURE.


                                                                                              Control* 30708
                                                                                   File Name: Maria A Salcedo
                                                                                              File# 1997-5300

                      Certification of Copy of Document Filed with the Court

                      SURROGATE'S COURT OF THE STATE OF NEW YORK
                                              KINGS COUNTY




I, Doreen A. Quinn.Chief Clerk, of the Kings County Surrogate's Court, a Court of Record, in the
Unified Court System of the State of New York, hereby certify that the copy of the following
document:

                                                   ORDER

is a true copy of the original document filed with or recorded in this Court and is a part of the case
record maintained by the Court, the same being either a:

(1) photographic reproduction of the original document reproduced on an office copier,
(2) printed copy of the electronically scanned document stored in the court's computer system, or
(3) printed reproduction of original document photocopied on microfilm.

In addition, I certify that the attached document is a correct transcript of the entire contents of the
original document that was so filed or recorded.

In Witness Whereof, I have hereunto set my hand and affixed the seal of the Kings Surrogate's
Court on May 30, 2018.




                                                           c^p^iu^          C%^>    ©LuuUkNjr^^
                                                                     Doreen A. QuinnXhief Clerk
                                                                                       .\




         (Facsimile signature may be used pursuant to Section 2609 ofthe Surrogate's Court Procedure Act)




                                                ©
                                                                                                    X 7jfi?7
                                                                                AT a Surrogate's Court held in
                                                                                And for the County of Kings on
                                                                                The / day of/ify
                                                                                              'M- 19?/



          PRESENT:         Hon
                           Surrogate
                               HOW. Mffihm a FBWBEBg                x
          Proceeding by Sergio A. Salcedo, the Administrix
          Of the Estate of Maria A. Salcedo deceased for                               ORDER
          Removal of restrictions relating to the transfer
          of real property.                                                            FILE NO.




          Upon the petitionof. Sergio A. Salcedo as Administrate of the Estate of Maria A. Salcedo
          deceased dated i^feUv 199^ and upon the supporting papers there to and consents signed by
          the interested parties praying that the Court remove/retrictions on the petitioner's letter of
           administration and permit the transfer of real property title to Sergio A. Salcedo ySiTi'iiininiMnlir,
          .the reminder ofwhich is an asset of this estate, to wit: the real property know as:

                   1       1294 Halsey Street Blyn, NY 11237 LOT #21 BLOCK #03413
                  2          237 Eldert Street Blyn, NY 11207 LOT #01 BLOCK #                3412
                  3        1298 Halsey Street Blyn, NY 11237 LOT #22 BLOCK # 03413

                  due deliberation having been had, and the Court having made a dHfion in writing dnteri-
          Dooomber 31, 1997 it is

          ORDERED, that the application of petitioner with respect to the transfer of title of said premises
          know as:


                  1        1294 Halsey Street Blyn, NY 11237 LOT #21 BLOCK #03413
                  2         237 Eldert Street Blyn, NY 11207 LOT #01 BLOCK # 3412                     /
                  3        1298 Halsey Street Blyn, NY 11237 LOT #22 BLOCK # 03413

          be and the same is hereby granted; and it is further.
                            &4. -fpfcJW-ur*-*^ s+4JiA **${ Lis   (y*~   &JJuXt*rv^4 Jlnr^J
          ORDERED ,     that court dioponoo tho bond.-   «

          ORDERED, that the petitioner's letter of Administration be modified and the petitioner* hereby
          is authorized to transfer title to Sergio A. Salcedo of said premises know as:

                  1        1294 Halsey Street
                  2         237 Eldert Street
                  3        1298 Halsey Street

    (2-
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                                                                           HON. MICHAEL H. FBNBERti

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